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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                     (Eastern Division)



 In re
                                                       Chapter 13
          ANDREW GREENHUT,
                                                       Case No. 19-10782-FJB
                         Debtor.



                     OBJECTION OF CREDITOR GITA SRIVASTAVA
                    TO DEBTOR’S FIRST AMENDED CHAPTER 13 PLAN

         Gita Srivastava (“Srivastava”), the holder of divorce-related claims against Andrew

Greenhut (the “Debtor”), hereby objects to confirmation of the Debtor’s First Amended Chapter

13 Plan dated May 6, 2019 [Doc. No. 26] (the “Amended Plan”). In support of this Objection,

Srivastava represents as follows:

         1.     The Amended Plan includes Srivastava’s claim in the amount of $164,500.00.

         2.     Srivastava has filed an amended claim in the amount of $290,749.17.

         3.     The Amended Plan fails to adequately address Srivastava’s claims.

         WHEREFORE, for the foregoing reasons, Srivastava requests that this Honorable Court

enter an order: (i) sustaining this Objection; (ii) denying confirmation of the Amended Plan; and

(iii) granting Srivastava such other and further relief as just and necessary.

                                                   Respectfully submitted,

                                                   GITA SRIVASTAVA,

                                                   By her attorneys,


                                                   /s/ Alex F. Mattera
                                                   Alex F. Mattera, BBO No. 641760
                                                   Partridge Snow & Hahn LLP
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Dated: June 5, 2019




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